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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


                                            )
                                            )    Case Number
MARCUSKURZ                                  )
        Plaintiff                           )
                                            )    CIVIL COMPLAINT
       VS.                                  )
                                            )
NATION\VIDE CREDIT, INC.                    )    JURY TRIAL DEMANDED
          Defendant                         )
                                            )




                            COMPLAINT AND JURY DEMAND


       COMES NO'''", Plaintiff, Marcus Kurz, by and through his undersigned counsel,

Bruce K. Warren, Esquire and Brent F. Vullings, Esq. of Warren & VUllings, LLP,

complaining of Defendant and respectfully avers as follows:



                       I.      INTRODUCTORY STATEMENT


       1.      Plaintiff, Marclls Kurz (hereinafter "Plaintiff"), an individual consumer,

brings this action for actual and statutory damages and other relief against Defendant for

violations of the Fair Debt Collection Practices Act, 15 V.S.c. § ] 691 et seq. ("FDCPA"),

which prohibits debt collectors fTom engaging in abusive, deceptive and unfair practices.

the Pennsylvania Fair Credit Extension Uniformity Act, 73 P.S. § 2270.4 ("PFCEUA) and

the Unfair Trade Practices and Consumer Protection Law, 73 P.S. § 201-1-201-9.3

("UTPCPL") which prohibits debt collectors and original creditors from engaging in

abusive, deceptive and unfair practices.
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                                  n.          JURISDICTION


          2.   JUlisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

§ 1337.

          3.   Venue in this District is proper in that the Plaintiff resides in this District

and the Defendant transacts business here and maintains a registered office in this District.



                                       III.     PARTIES


          4.   Plaintiff, Marcus Kurz ("Plaintiff') is an adult nahlraJ person with a mailing

address of2020 Walnut Street, Apartment 1 1D, Philadelphia, PA 19103.

          5.   Defendant, Nationwide Credit, Inc. ("Defendant"), at all times relevant

hereto, is and was a Corporation engaged in the business of collecting debt \vithin the

Commonwealth of Arizona with a registered office located at 1] 6 Pine Street, Suite 320,

Harrisburg, Pennsylvania 17101 and a principal office located at 2015 Vauglm Road, NW,

Keensaw, Georgia 30144-7801.


          6.   Defendant is engaged in the collection of debts from consumers using the

telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be

due to another. Defendant is a "debt collector" as defined by the FDCP A, 15 U .S.C.

§1692a(6).


                           IV.     FACTUAI~      ALLEGATIONS
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       7.       In or around the early part of November, 2009, Plaintiff started to receive

calls from Defend,mt in regards to a debt allegedly owed on an American Express Travel

Services account.

       8.       Plaintiffwas inti:.mned that the Defendant was collecting a balance of

approximately $6,688.15.

       9.       On or about November 2,2009, Defendant sent a letter to Plaintiff offering

a settlement on behalf of American Express in the amount of$2,400.00. See Exhibit "A"

(letter) attached hereto.

       10.      Plaintiff was asked to make payments in the amount of $300 starting on

November 20,2009 and concluding on June 20, 2010.

       11.      Plaintiffis engaged in the services of the law firm ofPerse]s & Associates,

LLC to help aid him in the settlement of his debt and with their help he accepted the

settlement offer from the defendant.

       12.     On or about November 9,2009, Persels sent the tirst check to the Defendant

in the amount 0[$300.00. See Exhibit "B" (check) attached hereto.

       13.      Defendant accepted and deposited first payment on behalf of American

Express.

       14.     On or about December 9, 2009, Persels sent the second check due to the

Defendant in the amount of$300.00. See Exhibit "C" (check) attached hereto.

       15.     On or about December 22,2009, Plaintiff received a notice from the

Defendant reporting that they no longer handled this account f'Or American Express and
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that future payments should bc sent directly to the original creditor at their Fort

Lauderdale, Florida address. See Exhibit "D" (notice) attached hereto.


        16.    Arotmd that same time, Defendant also returned the second payment made

by Persels on behalf of the Plaintiff.


       17.     Upon return of the second payment to Perse1s & Associates, Defendant

statcd that they did not have authority to accept the settlement deal on behalf of American

Express.


        18.    Plaintiff stated that collection calls started again by the Defendant in

January, 2010 and continued throughout the month of March, 2010.


       19.     Defendant intbnned the Plaintiff that they could no longer work with

Persels and demanded that the Plaintiff pay the debt himself:


       20.     The Defendant acted in a false, deceptive, misleading and unfair manner

when they engaged in conduct the natural consequence of which is to harass, oppress or

abuse Plaintiff in connection with the collection of a debt.

       21.     The Defendant knew or should have known that their actions violated the

PDCP A. Additionally, Defendant could have taken the steps necessary to bring their and

their agent's actions within compliance ofthe FDCPA, but neglected to do so and failed to

adequately review those actions to insure compliance with the law.

       22.     At all times pertinent hereto, Defendant was acting by and through it agents,

SeI'V'ants andlor employees, who were acting with the scope and course of their

employment and under the direct supervision and control of Defendant herein.
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        23.    At a11 times pertinent hereto, the conduct of Defendant as \\'ell as its agents,

servants and/or employees, was malicious, intentional, willful, reckless, negligent and in

wanton disregard for federal and state law and the rights of the Plaintiff herein.

       24.     As a result of Defendant's conduct, Plaintiff has sustained actual damages,

including, but not limited to, injury to Plaintiff's reputation, invasion ofpIivacy, damage to

Plaintiffs credit, out-of:pocket expenses, physical, emotional and mental pain and anguish

and pecuniary loss and he will continue to suffer same for an indefinite time in the future,

all to his great detriment and loss.




                                       COUNT I-FDCPA

       25.     The above paragraphs are hereby incorporated herein by reference.

       26      At all times relevant hereto, Defendant was attempting to collect an alleged

debt whieh was incurred by Plaintiff for personal, family or household purposes and is a

"debt" as defined by 15 V.S.c. § 1692a(5).

       27.     The foregoing acts and omissions constitute violations of the FDCPA,

including but not limited to, violations of:

               §§1692d:        Any conduct the natural consequence of which is to harass,

                               oppress, or abuse any person

               §§ 1692d(5): Caused the phone to ring or engaged any person in telephone

                               conversations repeatedly

               §§ 1692e:       Any other false deceptive, or misleading representation or

                               means in connection with the debt collection

               §§1692e(1O): Any false representation or deceptive means to collect a debt
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               §§1692f:        Any unfair or unconscionable means to collect or attempt to

                               collect the alleged debt

       \VHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant, Nationwide Credit, Inc., for the following:

       a.      Actual damages;

       b.      Statutory damages pursuant to 15 V.S.c. § 1692k;

       e.      Reasonable attorney's fees and litigation expenses, plus costs of suit; and

       d.      Such additional and further relief as may be appropriate or that the

               interests ofjustice require.


                                         COUNT II
            VIOLATIONS OF PENNSYLVANIA FAIR CREDIT EXTENSION
                                   UNIFORMITY ACT
                          (FCEUA, 73 Pn. C.S. § 2270.1 ct seq.)


       28.     Plaintiff repeats, fe-alleges and incorporates by reference the foregoing

paragraphs.


       29.     The collection of a debt in Pennsylvania is proscribed by the Fair Credit

Extension Unifonnity Aet at 73 Pa. c.s. § 2270.1 et seq., ("FCEUA") and the

Pennsylvania Unfair Trade Practices and Consumer Protection Law 73 Pa. C.S 201-1 et

seq. ("uTPCPL"). Defendant is a debt collector pursuant to 73 Pa. C.S. § 2270.3.


       30.     The alleged debt Defendant was attempting to collect is a debt as defined by

73 Pa. CS. § 2270.3.


       31.     The FCEUA proscribes, inter alia. engaging in any fal.se, misleading or

deceptive representations when attempting to collect a consumer debt.
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        32.        The actions of Defendant, as aforesaid, constitute false, misleading or

deceptive representations.

        33.        Violations of the FDCP A is a     ill!L~~   violation of the FCEUA and the

UTPCPL.

        34.        As a direct and proximate result of the said actions, Plaintiff has suffered

financial hann.

        35.        By virtue of the violations of the law as at()resaid, and pursuant to the

FCEUA and UTPCPL, Plaintiff is entitled to an award of actual damages, treble damages,

attorney's fee and costs of suit.

        \VHEREFORE, Plaintiff prays this Honorable Court enter judgment in their favor

and against Defendant, and Order the following relief:

        a.         Actual damages;

        b.         Treble damages~

        C.         An award of reasonable attorneys fees and expenses and eosts of court; and

        d.         Such additional relief as is deemed just and proper, or that the interests of

justice require.

                                           COUNT III
      VIOLATIONS OF PENNSYLVANIA CONSUMER PROTECTION LA\"
                            ('''UTPCPV'), 73 Pa. e.S. § 201-1 et seq.

        36.        The foregoing paragraphs are incorporated herein by reference.

        37.        Plaintiff and Defendant are "Persons" to 73 Pa. C.S § 201 ~2.
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        38.      The UTPCPL proscribes, inter alia, engaging in any '''unfair or deceptive

acts or practices", either at, and prior to or subsequent to a consumer transaction.


        39.      The action of Defendant, as aforesaid, constitutes unfair acts or practices

under the UTPCPL, by way of the following, inter alia:

        a.       Defendant misrepresented to Plainti ff the character, extent or amount of the

debt or its status in a legal proceeding, 73 Pa. C.S. § 201-3.1;


        b.       Defendant engaged in deceptive or fraudulent conduct which created a

likelihood of confusion or of misunderstanding, 73 Pa. C.S. § 201-2(xxi);


        c.       Defendant failed to comply with the FDCPA and FCEUA which are per se

violations of the UTPCPL


        33.      As a direct and proximate result of the said actions, PlaintifT has suffered

financial damages and other hann.


        34.      By virtue of the violations of law aforesaid and pursuant to the UTPCPL,

Plaintiff is entitled to an award of actual damages, treble damages, attorney's fees and

costs of suit.

        WHEREFORE Plaintiff prays this Honorable C01l11 enter judgment in their favor

and against Defendant, and Order the following relief:


        a.       An Order declaring that Defendant violated the UTPCPL;


        b.       Actual damages;


        c.       Treble damages;


        d.       An award of reasonable attorney's fees and expenses and cost of suit; and
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       e.      Such additional relief as is deemed just and proper, or that the interest of

justice may require.




                                 V.      JURY DEMAND


       Plaintiff hereby demands a jury trial as to all issues herein.

                                              Respectfully submitted,


                                              WARREN & VULLINGS, LLP


       Datc: September 9, 2010                BY: IslBruce K. Warren BKW4066
                                              Bruce K. WalTen, Esquire


                                              BY: IslBrent F. Vullings BFV8435
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